Case 2:09-cr-00056-DBH Document 555 Filed 02/12/13 Page 1 of 2   PageID #: 1330




                     UNITED STATES DISTRICT COURT

                            DISTRICT OF MAINE


HAL GEORGE McKOY,                   )
                                    )
                  MOVANT            )
                                    )
v.                                  )     CRIMINAL NO. 2:09-CR-56-DBH-01
                                    )      (CIVIL NO. 2:12-CV-347-DBH)
UNITED STATES OF AMERICA            )
                                    )
                  RESPONDENT        )


  ORDER AFFIRMING RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


      On January 4, 2013, the United States Magistrate Judge filed with the

court, with copies to the parties, her Recommended Decision on 28 U.S.C.

§ 2255 Motion. The movant filed his objection to the Recommended Decision

on January 25, 2013.     I have reviewed and considered the Recommended

Decision, together with the entire record; I have made a de novo determination

of all matters adjudicated by the Recommended Decision; and I concur with the

recommendations of the United States Magistrate Judge for the reasons set

forth in the Recommended Decision, and determine that no further proceeding

is necessary.

      It is therefore ORDERED that the Recommended Decision of the Magistrate

Judge is hereby ADOPTED. The movant’s 28 U.S.C. § 2255 motion to vacate, set

aside or correct sentence is summarily DENIED.
Case 2:09-cr-00056-DBH Document 555 Filed 02/12/13 Page 2 of 2      PageID #: 1331




      Finally, I also find at this time that no certificate of appealability should

issue because there is no substantial issue that could be presented on appeal.

See Fed. R. App. P. 22(b); First Circuit Local Rule 22.0.

      SO ORDERED.

      DATED THIS 12TH DAY OF FEBRUARY, 2013

                                            /S/D. BROCK HORNBY
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE




                                                                                 2
